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     6                             UNITED STATES DISTRICT CO URT
     7                                    DISTR ICT O F N EV AD A

     8 LTNITED STATESOFAM ERICA,                      )
                                                      b                                                J
     9                       Plaintiff,               )                                                ,
                                                      )                                                l
    10            v.                                  )         2:10-CR-217-PMP(PAL)                   k
                                                      )                                                I
    11 BOYAN GUEORGUIEV,                              )
                                                      )
    12                       Deftndant.               )
    13                          PRELIM INARY ORDER OF FORFEITURE
    14Ij          ThisCourtfindsthatonJune21,2011,defendardBOYANGUEORGUIEVpledguiltyto
    15 CountOne ofa Thirty-Two-countSuperseding Crim inallndictmcntcharging him with Title l8,
                                                                                            .



    16 United StatesCode,Section 371,conspiracy to receive,possesssand çoncealunlawfully converted
    17 property ofthe valueof$5,000.00 orm ore,which crossed a Stateboundary;Title l8,United States
    18 Code,Section 2315,transporting in interstatecomm erceproperty ofthevalueof$5,000.00 orm ore,
    l9 which wastaken by fraud in violationofTitle 18, United StatesCode,Section 23l4,andtotransmit
    20 interstatewire comm tmicationsin furtherance and execution ofaschemeand artificetodefraud, in
    2l violation ofTitle 18,United StatesCode,Section 1343.
    22            ThisCourtlindsdefendantBOYAN GUEORGUIEV agreed totheforfeitureoftbeproperty
    23 setfortb in ForfeitureAllegationsoftheSupersedingCriminallndictment.                            1
                                                                                                       i
    24 - .                                                                                             )
    25    . . .
                                                                                                       ;
    26j'
       j ...
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           ThisCourttinds,pursuantto Fed.R.Crim.P.32.2(b)(1)and (2),the United Statesof
 A m erica hasshow n the requisite nexusbetw een property setfort.llintheForfeitureAllegationsofthe
 SupersedingCrim inalIndictmentand1heoffensetowhich defendantBOYAN GUEORGUIEV pled
 guilty.

           Tbefollowingassdsaresubjtcttoforfeitmepursuu ttoTitle18,UnitedStatesCode,Sedion
 982(a)(2)(A);Title18,UnitedStatesCode,Sections981(a)(1)(C),andTitle28,UnitedStatesCode,
 Section2461(c);Title18,UnitedStatesCode,Sections1343,2314,2315,specifiedunlawfulactivities
 asdefinedinTitle 18,UnitedStatesCode,Sectionsl956(c)(7)(A)and l961(1)(B);Titlel8,United
 StatesCode,Section 371;and Title21,United StatesCode, Section853(p):
                        2008 Black,Subaru Tribeca,Vm :454W X9017684411321;
                       2008TrackerPro 170 boat,V1N :BUJ01971E708;
                        2008 Black,TrailstarBoatTrailer,VlN :4TM l1GEl8sB001374;
                 4.    2008 Silver,AudiA3 VlN :W A1710 78P68A 145019;
                       2008 Silver,SubanzlmprezaOutback W agon,VlN :.1F1614636781-1823361;
                       2008W hite,M ercedesBenzS55O,VlN :W 1717N071X78A 187996;
                       2008W hite and Black,SeaRay boat,VlN :SERV4654A808;
                 8.    2008 Black,ShorelanderBoatTrailer,Vm :1M DASN Y278A408389;
                 9.    2008 Silver,AudiA4,VlN :W AUAF78E98A 114156;
                 10.   2007 Silver,Volvo S60,VIN:1+ 1R5592572638224;and
                 11.   2008 W hite,HyundaiAccent,V1N :1G 11,1CN46C4817237243,
           ThisCourtGndstbe United States ofAm erica is now entitled to, and should,reduce the
 aforem entioned property to 'the possession ofthe U nited StatesofAm erica.
           NOW THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatthe
 United StatesofAmerica should seizetheaforem entioned property.




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     1             IT ISFURTHER ORDERED,ADJUDGED,AND DECREED a1lright,title,and interestof
     2 BOYAN GUEORGUIEV intheaforementionedpropertyisforfeitedandisvestedintheunitedStates
     3 ofAmericaand shallbesafelyheld bytheUnited StatesofAmericauntilfurtherorderofthe Court,
    4              IT ISFURTHER ORDERED,ADJUDGED ,AND DECREED theUnitedStatesofAmerica
     5 shallpublish foratleastthirty (30)consecutivedayson theofficialinternetgovemmentforfeiture
    6      website,w ww.forlbiture,gov,noticeofthisOrder,which shalldescribe the fodkited property, state
     7 thetimetmdertheapplicablestatutewhenapetition contesting theforfeiturem ustbefiled, and state
     8 thenam eandcontactinformation forthegovenunentattonwytobeservedwiththepetition, ptzrsuant

     9 toFed.R.Crim.P.32.2(b)(6)and Title21,United StatesCode,Section853(n)(2).
    10            ITISFURTHER ORDERED,ADJUDGED,AND DECREED apetition,ifany,m ustbefiled
    l1 with theClerk ofthe Court,333 LasVegasBoulevard South,LasVegas,Nevada89101.
    12            IT IS FU RTH ER OR DERED ,A DJU DG ED ,AN D DECREED acopy ofthe petition, ifany,
    13 shallbe served upon the AssetForfeiture Attorney ofthe United StatesAttorney's Oftk e atthe
    14     following addressatthetime offiling:
    15            DA N IEL G .BOG DEN
                  United StatesAttorney
    16            N evada State B arN o.2137
                  M ICH A EL A .HU M PH REYS
    17            AssistantUnited StatesAtlorney
                  Lloyd D .G eorge United States Courthouse
    18            333LasVegasBoulevard South,Suite5000
    19            LasVegas,Nevada89101                                                                      j
                  Telephone:(702)388-6336                                                                   J
                  Facsimile:(702)388-6787                                                                   i
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     1              IT IS FURTHER ORDERED,ADJUDGED,AN D DECREED thenoticedescribed herein
     2 need notbe published in theeventa Declaration ofForfeiture is issued by the appropriate agency
     3 following publication ofnoticeofseiztlreand intentto adm inistratively forfeitthe above-described
     4       property.

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